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1                                                                 Honorable Ronald B. Leighton

2

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7
                            UNITED STATES DISTRICT COURT
8                          WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
9

10   MARTY PAUL, an individual; and
     BRIAN BUSKIRK, an individual,                   No. 3:16-cv-05616-RBL
11
                            Plaintiffs,              DECLARATION OF ELIZABETH S.
12                                                   WEINSTEIN IN SUPPORT OF
             v.                                      PLAINTIFFS’ MOTION FOR
13                                                   PARTIAL SUMMARY JUDGMENT
     RBC CAPITAL MARKETS, LLC, a
14   Minnesota limited liability company;            NOTE ON MOTION CALENDAR:
     ROYAL BANK OF CANADA, a                         October 20, 2017
15   Canadian corporation; and ROYAL
     BANK OF CANADA US WEALTH                        ORAL ARGUMENT REQUESTED
16   ACCUMULATION PLAN, an employee
     benefit plan,
17
                            Defendants.
18

19          I, ELIZABETH S. WEINSTEIN, declare as follows:
20          1.      I am one of the attorneys representing Plaintiffs Marty Paul and Brian
21   Buskirk in this action. I make this declaration based on my personal knowledge and on
22   records maintained by my firm with respect to the above-captioned matter.
23          2.      Attached hereto as Exhibit 1 are true and correct copies of excerpts from the
24   July 11, 2017 deposition transcript of Gabriela Sikich.
25          3.      Attached hereto as Exhibit 2 is a true and correct copy of the Amended and
26   Restated Royal Bank of Canada US Wealth Accumulation Plan and Prospectus dated


     DECLARATION OF ELIZABETH S. WEINSTEIN IN
     SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL                            1420 FIFTH AVENUE, SUITE 1400
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1    November 1, 2008. This document was produced in this matter by Defendants as RBC-

2    PAUL000000080-102. Per agreement from counsel, this document has been de-designated

3    from Confidential.

4           4.     Attached hereto as Exhibit 3 are true and correct copies of excerpts from the

5    July 12, 2017 deposition transcript of Tammy Buchert.

6           5.     Attached hereto as Exhibit 4 is a true and correct copy of the 2009 Financial

7    Consultant Compensation Plan dated November 1, 2008. This document was produced in

8    this matter by Defendants as RBC-PAUL000006615. Per agreement from counsel, this

9    document has been de-designated from Confidential.

10          6.     Attached hereto as Exhibit 5 is a true and correct copy of the 2009 Branch

11   Director Compensation Plan dated November 1, 2008. This document was produced in this

12   matter by Defendants as RBC-PAUL000011237-50. Per agreement from counsel, this

13   document has been de-designated from Confidential.

14          7.     Attached hereto as Exhibit 6 is a true and correct copy of the Amended and

15   Restated Royal Bank of Canada US Wealth Accumulation Plan and Prospectus dated

16   November 30, 2004. This document was produced in this matter by Defendants as RBC-

17   PAUL000003455-73. Per agreement from counsel, this document has been de-designated

18   from Confidential.

19          8.     Attached hereto as Exhibit 7 is a true and correct copy of the Amended and

20   Restated Royal Bank of Canada US Wealth Accumulation Plan and Prospectus dated

21   November 1, 2006. This document was produced in this matter by Defendants as RBC-

22   PAUL000000043-60. Per agreement from counsel, this document has been de-designated

23   from Confidential.

24          9.     Attached hereto as Exhibit 8 is a true and correct copy of the Amended and

25   Restated Royal Bank of Canada US Wealth Accumulation Plan and Prospectus dated
26   November 1, 2007. This document was produced in this matter by Defendants as RBC-


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1    PAUL000000061-79. Per agreement from counsel, this document has been de-designated

2    from Confidential.

3           10.    Attached hereto as Exhibit 9 is a true and correct copy of the Amended and

4    Restated Royal Bank of Canada US Wealth Accumulation Plan and Prospectus dated

5    November 1, 2009. This document was produced in this matter by Defendants as RBC-

6    PAUL000003138-59. Per agreement from counsel, this document has been de-designated

7    from Confidential.

8           11.    Attached hereto as Exhibit 10 is a true and correct copy of the Amended and

9    Restated Royal Bank of Canada US Wealth Accumulation Plan and Prospectus dated

10   November 1, 2010. This document was produced in this matter by Defendants as RBC-

11   PAUL000000102-23. Per agreement from counsel, this document has been de-designated

12   from Confidential.

13          12.    Attached hereto as Exhibit 11 is a true and correct coy of the Royal Bank of

14   Canada US Wealth Accumulation Plan and Prospectus dated December 6, 2011. This

15   document was produced in this matter by Defendants as RBC-PAUL000003386-408. Per

16   agreement from counsel, this document has been de-designated from Confidential.

17          13.    Attached hereto as Exhibit 12 is a true and correct copy of the Amended and

18   Restated Royal Bank of Canada US Wealth Accumulation Plan and Prospectus (Frozen as

19   of January 1, 2012) dated January 1, 2012. This document was produced in this matter by

20   Defendants as RBC-PAUL000003341-62. Per agreement from counsel, this document has

21   been de-designated from Confidential.

22          14.    Attached hereto as Exhibit 13 is a true and correct copy of the RBC U.S.

23   Wealth Accumulation Plan FC Select Participants Summary. This document was produced

24   in this matter by Defendants as TOLBERT0000636-39. Per agreement from counsel, this

25   document has been de-designated from Confidential.
26


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1           15.    Attached hereto as Exhibit 14 is a true and correct copy of a presentation

2    titled 2011 FC Compensation Regional Director Meeting dated May 19, 2010. This

3    document was produced in this matter by Defendants as RBC-PAUL000005699-714. Per

4    agreement from counsel, this document has been de-designated from Confidential.

5           16.    Attached hereto as Exhibit 15 is a true and correct copy of the RBC US

6    Wealth Accumulation Plan (“WAP”) Overview, RBC Benefits. This document was

7    produced in this matter by Defendants as TOLBERT0002107-115. Per agreement from

8    counsel, this document has been de-designated from Confidential.

9           17.    Attached hereto as Exhibit 16 is a true and correct copy of an email from

10   Jim Chapman and Karl Leaverton to RBCWM Complex Directors dated November 19,

11   2008. This document was produced in this matter by Defendants as RBC001406. Per

12   agreement from counsel, this document has been de-designated from Confidential.

13          18.    Attached hereto as Exhibit 17 are true and correct copies of excerpts from

14   Defendant RBC Capital Markets, LLC’s Responses and Objections to Plaintiffs’ Second

15   Interrogatories dated March 8, 2017.

16          19.    Attached hereto as Exhibit 18 is a true and correct copy of a WAP

17   Retirement Savings Statement re Marty Paul dated January 1, 2006 – December 31, 2011.

18   This document was produced in this matter by Defendants as RBC-PAUL000000410-85.

19   Per agreement from counsel, this document has been de-designated from Confidential.

20          20.    Attached hereto as Exhibit 19 is a true and correct copy of a letter from

21   Gabriela Sikich to Marty Paul re RBC US Wealth Accumulation Plan (“WAP”) dated

22   March 15, 2012; produced in this matter by Defendants as RBC-PAUL000003952. Per

23   agreement from counsel, this document has been de-designated from Confidential.

24          21.    Attached hereto as Exhibit 20 is a true and correct copy of a WAP

25   Retirement Savings Statement re Brian Buskirk dated January 1, 2009 – December 31,
26   2012. This document was produced in this matter by Defendants as RBC-


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1    PAUL000004570-632. Per agreement from counsel, this document has been de-designated

2    from Confidential.

3             22.   Attached hereto as Exhibit 21 is a true and correct copy of a WAP

4    Retirement Savings Statement re Brian Buskirk dated January 1, 2013 – December 31,

5    2013. This document was produced in this matter by Defendants as RBC-

6    PAUL000000243-50. Per agreement from counsel, this document has been de-designated

7    from Confidential.

8             23.   Attached hereto as Exhibit 22 is a true and correct copy of a letter from

9    Todd Schwartz to Dawn Crocheron re Brian Buskirk Resignation Letter dated August 10,

10   2012; produced in this matter by Defendants as RBC-PAUL000009931. Per agreement

11   from counsel, this document has been de-designated from Confidential.

12            24.   Attached hereto as Exhibit 23 is a true and correct copy of WAP Retirement

13   Savings Statements re Marty Paul dated January 1, 2012 – December 31, 2012. This

14   document was produced in this matter by Defendants as RBC-PAUL000000486-89. Per

15   agreement from counsel, this document has been de-designated from Confidential.

16            25.   Attached hereto as Exhibit 24 is a true and correct copy of a letter from

17   Elizabeth S. Weinstein to Sari M. Alamuddin dated June 28, 2017.

18            26.   Attached hereto as Exhibit 25 is a true and correct copy of a letter from

19   Matthew A. Russell to Elizabeth S. Weinstein dated July 10, 2017.

20            27.   On July 26, 2017, counsel for Plaintiffs and counsel for RBC engaged in a

21   telephonic meet and confer regarding the WAP’s status as an employee pension benefit plan

22   under 29 U.S.C. § 1002(2)(A)(ii), and RBC declined to enter a joint stipulation on that

23   issue.

24            28.   Attached hereto as Exhibit 26 is a document I created showing excerpts

25   from the Fifth Circuit decision in Tolbert v. RBC Capital Markets, 758 F.3d 619 (5th Cir.
26   2014), along with the provisions from the 2008 Plan Document (Exhibit 2) considered by


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1    the Fifth Circuit. The document also compares the corresponding provisions and language

2    from the other applicable Plan Documents (Exhibits 6 through 12) to the 2008 Plan

3    Document (Exhibit 2).

4           29.    Attached hereto as Exhibit 27 is a true and correct copy of the Declaration

5    of Gabriela Sikich in Support of Defendants’ Motion for Summary Judgment as to Plaintiff

6    Kennedy’s Claims dated June 23, 2009 from In Re RBC Dain Rauscher Overtime

7    Litigation, Case No. 06-03093 (USDC Dist. Minn.). This document was produced in this

8    matter by Defendants as RBC001420. Per agreement from counsel, this document has been

9    de-designated from Confidential.

10          30.    To determine the amount of Mr. Paul’s mandatory deferred contributions to

11   the WAP for the years 2006 through 2009, I added the “Employee Mandatory” contribution

12   amounts shown in Mr. Paul’s Retirement Savings Statements for the years 2006, 2007,

13   2008 and 2009 (Exhibit 18 at RBC-PAUL000000410-62). Using the market value on

14   December 31 of each of those years, the amounts were: $107,873.05 (RBC-

15   PAUL000000413), $180,999.99 (RBC-PAUL000000427), $103,369.48 (RBC-

16   PAUL000000440), and $114,718.52 (RBC-PAUL000000454), which total $506,961.04 in

17   mandatory deferred contributions. To determine the total amount of Mr. Paul’s WAP

18   contributions for the years 2006 through 2012, I added the “Total” contribution amounts

19   shown in Mr. Paul’s Retirement Savings Statements for the years 2006, 2007, 2008, 2009,

20   2010, 2011, and 2012 (Exhibit 18). Using the market value on December 31 of each of

21   those years, the amounts were: $215,746.02 (RBC-PAUL000000414), $362,000.02 (RBC-

22   PAUL000000427), $206,738.96 (RBC-PAUL000000440), $229,437.12 (RBC-

23   PAUL000000454), $270,494.22 (RBC-PAUL000000466), and $60,151.28 (RBC-

24   PAUL000000477), which total $1,344,567.50 in total contributions.

25          31.    Attached hereto as Exhibit 28 is a true and correct copy of the RBC U.S.
26   Wealth Accumulation Plan for Regional Directors & Complex Directors Summary. This


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1    document was produced in this matter by Defendants as TOLBERT0000646-52. Per

2    agreement from counsel, this document has been de-designated from Confidential.

3

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5           I declare under penalty of perjury of the laws of the United States of America that

6    the foregoing is true and correct.

7           Dated: September 28, 2017, at Seattle, Washington.

8

9                                                  s/Elizabeth S. Weinstein
                                                   Elizabeth S. Weinstein
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     DECLARATION OF ELIZABETH S. WEINSTEIN IN
     SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL                            1420 FIFTH AVENUE, SUITE 1400
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1                                          CERTIFICATE OF SERVICE
2                   I hereby certify that on this date, I electronically filed the foregoing document with

3         the Clerk of the Court using the CM/ECF system, which will send notification of such filing

4         to the following:

5         PERKINS COIE LLP
          Kevin J. Hamilton
6
          William B. Stafford
7         1201 Third Avenue, Suite 4900
          Seattle, WA 98101-3099
8         Email: khamilton@perkinscoie.com
                  wstafford@perkinscoie.com
9
          MORGAN, LEWIS & BOCKIUS LLP
10
          Sari M. Alamuddin, pro hac vice
11        Christopher J. Boran, pro hac vice
          Matthew A. Russell, pro hac vice
12        77 West Wacker Drive, Fifth Floor
          Chicago, IL 60601
13        Email: sari.alamuddin@morganlewis.com
                 christopher.boran@morganlewis.com
14
                 matthew.russell@morganlewis.com
15
          Attorneys for Defendants RBC Capital
16        Markets, LLC, Royal Bank of Canada, and
          Royal Bank of Canada US Wealth
17        Accumulation Plan
18

19                  I declare under penalty of perjury under the laws of the State of Washington that the

20        foregoing is true and correct.

21                  Dated: September 28, 2017 at Seattle, Washington.

22                                                        s/Sue Stephens
                                                          Sue Stephens, Legal Assistant
23

24

25
26


          DECLARATION OF ELIZABETH S. WEINSTEIN IN
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                         EXHIBIT 1
DECL WEINSTEIN ISO PLAINTIFFS’ MOTION
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               Deposition of Gabriela Sikich

  Paul, et ano. v. RBC Capital Markets, LLC, et al.

                               July 11, 2017




                      206.287.9066 l 800.846.6989
                1325 Fourth Avenue, Suite 1840, Seattle, Washington 98101
                                www.buellrealtime.com
                              email: info@buellrealtime.com




DECL WEINSTEIN ISO PLAINTIFFS’ MOTION
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                                                                                                         Page 39
             1       BY MR. ROLLER:
             2                Q.        We'll get into a bit later about eligibility and
             3       how it's kind of changed over the years, but let's just
             4       talk hypothetically about what the -- what the process is
             5       for creating that eligibility file for any given year.
             6                A.        Well, we go back and, depending on that
             7       eligibility requirement for that particular year -- and as
             8       you had mentioned, it has changed.                  And so what we do is
             9       that we get -- since eligibility for commission-based
           10        employees comes based on production, we get a product- -- a
           11        production file from wealth management or PCG.
           12                           And that production file then provides a breakdown
           13        of fiscal year gross production for all FAs and BDs.                             And
           14        so, at that point, it does have a whole host of other
           15        information, but that is the -- that -- that production
           16        file is what we use to determine who's going to be eligible
           17        to participate in the following year on our
           18        commission-based.
           19                           For non-commission, we basically take -- it's --
           20        it's based on total cash compensation, and that comes
           21        directly off of our payroll system, SAP.                     And so we pull
           22        that off, all employees, and based on their total -- total
           23        cash compensation, whatever level was determined for that
           24        particular year threshold, anyone that was above that
           25        threshold then would be eligible to participate in the


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           Page 40
             1       following year.
             2                Q.        And so starting with the noncommissioned, is that
             3       eligibility determined on a calendar year basis or a fiscal
             4       year basis?
             5                A.        It's actually determined on what we call benefit
             6       salary.            It goes -- it's one month off from a fiscal year,
             7       so it goes from 10/1 to 9/30.
             8                Q.        And is the fiscal year starting 11/1 or 9/1?
             9                A.        11/1.
           10                 Q.        I'm just curious.      Why does the benefits schedule
           11        start a month before the fiscal year?
           12                 A.        So that people -- it's actually that -- that
           13        particular time frame was used to really determine health
           14        and welfare benefits.                 And so we decided to start using
           15        that, because we have to determine eligibility for the
           16        month of December, and if we didn't start doing that until
           17        November, it's -- it was just a really crunch time for us.
           18                           And so since we had the benefit salary out on our
           19        payroll system and we used all other benefits as -- as
           20        that time -- you know, that time frame to determine
           21        eligibility for other benefits, it made sense that we would
           22        align.           And it would also be -- operationally give us more
           23        time so that we would have that extra month to make sure
           24        that we had everything populated by December.
           25                 Q.        So those -- those spreadsheets are created, and


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         Paul, et ano. v. RBC Capital Markets, LLC, et al.                                            Gabriela Sikich


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             1                Q.        Was another thing they dealt with restatement of
             2       the -- the WAP document?
             3                A.        Correct.
             4                Q.        Were there other things they dealt with at those
             5       quarterly meetings?
             6                A.        The investment review and monitoring.
             7                Q.        In addition to dealing with the claims, the
             8       changes to the plan document, and the investment review and
             9       monitoring, were there other things that the WAP committee
           10        did back in that pre-2013 time period?
           11                 A.        No.
           12                 Q.        Now we're going to go even further back in time,
           13        so we're going to have to cast our minds back way -- I
           14        think back toward the turn of the century, and I want to
           15        talk a little bit -- or ask you a little bit about the
           16        origins of the WAP.
           17                           Can you tell me when the WAP started?               And here,
           18        again, as throughout this deposition, unless I specify
           19        otherwise, I'm talking about the old WAP.
           20                 A.        I don't know when it actually started.               I do know
           21        it was in place at the time of the acquisition of -- RBC
           22        acquired Dain Rauscher.                  And at that point in time -- so
           23        that was 2001.                   I do know that Dain Rauscher had a deferred
           24        compensation plan known as WAP prior to that.                        I cannot
           25        state for how long.                   I can say it was more than ten years.


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                                                                                                         Page 55
             1       the ability to develop their own investment strategy within
             2       their deferred compensation.
             3                          And then, additionally, I think that we have the
             4       ability for a participant to then also elect the timing of
             5       when those distributions are paid out, and they can earmark
             6       that based on their own personal needs, whether it be
             7       in-service or post employment.
             8                          I think the key thing is flexibility and the fact
             9       that it had very generous company contributions.
           10                 Q.        And you mentioned that one of the really
           11        attractive features of the WAP is that there were an array
           12        of choices, a broader array, in your view, than offered by
           13        many competitors; is that correct?
           14                 A.        I would say historically we were kind of -- that
           15        we -- we provide more investment flexibility.                        Over the
           16        course of time, that -- that competitive edge -- I mean, I
           17        think that now it's very commonplace that you're going to
           18        find our competitors offering the same type of investment
           19        flexibility.
           20                 Q.        So others have caught up to some extent?
           21                 A.        Yes.
           22                 Q.        And let's say back ten years ago or so, there was
           23        more separation between RBC and competitors in that regard;
           24        is that correct?
           25                 A.        I would say that that was correct.


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           Page 64
             1                A.        Correct.
             2                Q.        And it's dated January 1, 2012?
             3                A.        Correct.
             4                Q.        And, per Section 1.1B, is effective January 1,
             5       2012?
             6                A.        Correct.
             7                Q.        And is it fair to say that this plan document
             8       amends and restates the plan documents that we just went
             9       through, Exhibits 2 through 7?
           10                 A.        Yes.
           11                             (Exhibit No. 9 marked.)
           12        BY MR. ROLLER:
           13                 Q.        Ms. Sikich, you've been handed what's been marked
           14        Exhibit 9.               Do you know what this document is?
           15                 A.        Yes.
           16                 Q.        What is it?
           17                 A.        It's the wealth accumulation plan document and
           18        prospectus.
           19                 Q.        And it's dated December 6, 2011?
           20                 A.        Correct.
           21                 Q.        And I'd like you to turn to Section 1.1B, which is
           22        the heading that begins, in italics, "New deferred
           23        compensation plan," and then continues, "This is a new plan
           24        that is wholly separate from the U.S. wealth accumulation
           25        plan formerly called the RBC Dain Rauscher wealth


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                                                                                                         Page 65
             1       accumulation plan that was frozen on January 1, 2012," and
             2       it's defined as the "frozen plan."                    Do you see that?
             3                A.        I do.
             4                Q.        So this -- this plan is separate from the plan
             5       that is reflected in Exhibits 2 through 8; correct?
             6                A.        That's correct.
             7                Q.        And why was that done?
             8                                    MR. RUSSELL:     Object -- excuse me.       Objection
             9       to form.
           10                 A.        It was at the time that we actually then -- we had
           11        some significant changes within the organizational
           12        structure and where we had to freeze this plan and then
           13        start a new WAP along with the -- introducing the U.S.
           14        deferred advantage plan.
           15        BY MR. ROLLER:
           16                 Q.        So when you say "freeze this plan," it's freezing
           17        the WAP or -- or the old WAP; right?
           18                 A.        Freezing the old WAP.
           19                 Q.        And then this document is the -- essentially
           20        the -- the beginning of the new WAP; right?
           21                 A.        That's correct.
           22                 Q.        And you said there were significant
           23        organizational -- did you say organizational changes?
           24                 A.        Correct.           In 2012, a significant amount of what --
           25        what drove primarily all of these changes is that we


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                                                                                                         Page 67
             1       for eligibility to participate in WAP.
             2                Q.        So when the new WAP was created, there were
             3       significant eligibility changes; correct?
             4                A.        That is correct.
             5                Q.        And they were -- I assume they were significantly
             6       tightened, the eligibility requirements?
             7                A.        Yes.        They were definitely increased
             8       significantly.
             9                Q.        And we'll get into this a bit more later on today,
           10        but it's true that, over time, eligibility changes were
           11        made to the old WAP; correct?
           12                 A.        That is correct.
           13                 Q.        So why not simply make those eligibility changes
           14        to the old WAP?
           15                 A.        Because of the significant -- because of the
           16        significant eligibility change, historically, we
           17        did have -- we did elevate them.                    But with this divestiture
           18        from the bank, it had a significant impact on the
           19        eligibility, and with working with outside counsel, had
           20        said, "Well, at this" --
           21                                     MR. RUSSELL:   Hold on.   I'm just going to
           22        caution you that, to the extent you had conversations with
           23        outside counsel, you're not to testify to the substance of
           24        the --
           25                                     THE WITNESS:   Okay.


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             1       participants of the old WAP as to why this change was made?
             2                A.        No.       Not that I'm aware of.
             3                Q.        So they just one day found out they weren't
             4       eligible for the WAP anymore?
             5                A.        Well, we did identify -- we did identify the
             6       eligibility changes and then also introduced the deferred
             7       advantage plan.                       So yes, we did have to make that
             8       communication, because it impacted many people.
             9                Q.        And do you recall, in making those communications,
           10        what RBC said to those participants in the old WAP that
           11        would not be participants in the new WAP?
           12                 A.        I don't understand the question.
           13                 Q.        Is it true that a number of RBC employees who
           14        would have been eligible to participate under the old WAP
           15        were no longer eligible to participate under the new WAP?
           16        Correct?
           17                 A.        Correct.
           18                 Q.        And in communicating the fact that they were not
           19        eligible to participate in the new WAP, what, if anything,
           20        did RBC tell those participants in the old WAP about the
           21        reason that they were not eligible to participate in the
           22        new WAP?
           23                 A.        The people that were able to participate in the
           24        old WAP that no longer met the eligibility requirements in
           25        the new WAP, we identified the fact that, due to the


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             1       divestiture of the bank, that we needed to change
             2       eligibility thresholds and therefore were introducing --
             3       since they no longer can be eligible to participate in WAP,
             4       were introducing the deferred advantage plan.                        So they
             5       would be eligible for the deferred -- deferred advantage
             6       plan.
             7                Q.        To introduce -- what was it called?              The deferred
             8       advantage plan?
             9                A.        Yeah.         Or DAP.
           10                 Q.        To introduce the DAP, was it required to create a
           11        new WAP?
           12                 A.        It was not a requirement.
           13                 Q.        Is there anything that prevented RBC from
           14        introducing a DAP in 2008?
           15                                     MR. RUSSELL:   Objection to form.
           16                 A.        State that again.
           17        BY MR. ROLLER:
           18                 Q.        Could RBC have introduced a DAP in 2008?
           19                 A.        They could have.
           20                 Q.        Why didn't they?
           21                 A.        There was no need.
           22                 Q.        In 2010, there was significant eligibility
           23        tightening of the old WAP; correct?
           24                                     MR. RUSSELL:   Object to form.
           25                 A.        There have been eligibility changes or threshold


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             1       they're automatically paid out at the end of the vesting
             2       period.
             3                          The other difference is, under WAP, individuals
             4       are allowed to re-defer any type of in-service distribution
             5       election, which must be made five years prior to that
             6       in-service based under the rules under 409A.                        Under the
             7       deferred advantage plan, they do not have a re-deferral
             8       option on their in-service.
             9                Q.        Setting aside the new WAP, can you tell me how the
           10        revisions to Exhibits 2 through 8 were made -- who made the
           11        revisions to Exhibits 2 through 8?
           12                 A.        Our outside counsel at the time.
           13                 Q.        You didn't have input on those revisions?
           14                 A.        Collabor- -- worked collaboratively with.                 These
           15        are legal documents, so they were drafted by legal.
           16                 Q.        Outside legal or in-house legal?
           17                 A.        Outside legal.
           18                 Q.        And was the WAP committee involved in those
           19        revisions?
           20                 A.        No.
           21                 Q.        Now, you've been very clear that Exhibit 9 refers
           22        to a new WAP.                  It's an entirely separate plan from the old
           23        WAP that's in Exhibits 2 through 8; correct?
           24                 A.        That's correct.
           25                 Q.        Setting aside the new WAP, Exhibits 2 through 8


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                                                                                                         Page 77
             1       govern a single plan; correct?
             2                A.        It is my understanding that each -- each plan
             3       document -- subsequent plan document supersedes any of the
             4       provisions of the previous plan documents.
             5                Q.        Okay.         But that's not the question I asked.
             6                          I understand that it's RBC's position that they
             7       supersede the prior documents, but these -- when, for
             8       example, RBC enacted Exhibit 8, that didn't create a new
             9       plan than had been governed by Exhibit 7?
           10                 A.        Correct.
           11                 Q.        It was the same plan -- Exhibit 7 and 8 govern the
           12        same plan?
           13                                     MR. RUSSELL:   I'm going to just object to the
           14        extent it calls for a legal conclusion.
           15                                     But you can answer.
           16                 A.        Yes.
           17        BY MR. ROLLER:
           18                 Q.        Exhibit 8 through all of the exhibits going back
           19        to Exhibit 2 govern the same plan; correct?
           20                                     MR. RUSSELL:   Same objection.
           21                 A.        Yes.
           22                                     MR. RUSSELL:   Jeremy, we're close to two
           23        hours.           If --
           24                                     MR. ROLLER:    Yeah.
           25                                     MR. RUSSELL:   Only when you're ready to


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                                                                                                         Page 93
             1                A.        Correct.
             2                Q.        And if you turn to page 3, in the lower right
             3       corner, the number is 638.                  Near the top, there's reference
             4       to two choices for distribution options: a retirement
             5       distribution and an in-service distribution.                        Do you see
             6       that?
             7                A.        Yes.
             8                Q.        In-service distribution is where they elect to
             9       receive the distribution at some point while they're still
           10        working with RBC; correct?
           11                 A.        That is correct.
           12                 Q.        And the retirement distribution, what did that
           13        allow these WAP participants to do?
           14                                     MR. RUSSELL:   I'm going to object, and to
           15        clarify, you're talking specifically that -- this FC select
           16        group?
           17                                     MR. ROLLER:    Yes.
           18                 A.        The retirement distribution option, the
           19        participant was -- had the ability to elect a distribution
           20        post employment, and they could have spread it out anywhere
           21        between one and ten years, and they would make that
           22        election at the time that they enrolled in the plan for
           23        that particular plan year.
           24                           The caveat is, is that in order to lock in that
           25        post-employment distribution election, they would have had


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                                                                                                         Page 95
             1                            (Exhibit No. 13 marked.)
             2       BY MR. ROLLER:
             3                Q.        Ms. Sikich, do you recognize Exhibit 13?
             4                A.        Yes.
             5                Q.        And what is this?
             6                A.        This is the summary for the WAP for financial
             7       consultants and branch directors for the 2011 plan year.
             8                Q.        So the financial consultants who weren't in the FC
             9       select category would fall under this rubric; is that
           10        right?
           11                 A.        Correct.
           12                 Q.        And unlike the FC select participants, these
           13        participants could be eligible for both productivity
           14        bonuses and loyalty bonuses?
           15                 A.        That's correct.
           16                 Q.        What's a productivity bonus?
           17                 A.        Productivity bonus is -- there's a grid that
           18        basically provides a contribution based on a level of
           19        production.                The higher production, the higher the
           20        contribution is to the plan.
           21                 Q.        And a loyalty bonus, is that based in part on the
           22        length of service?
           23                 A.        The component for the loyalty bonus has two
           24        components.                It's based on production and longevi- -- years
           25        of service.


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             1       order here.
             2       BY MR. ROLLER:
             3                Q.        And I'd like to direct your attention to
             4       paragraph 2.3.                   It is page 4.
             5                A.        Page 4?
             6                Q.        Yeah.
             7                          And 2.3 deals with mandatory deferral of
             8       compensation; right?
             9                A.        Yes.
           10                 Q.        And it provides, "In connection with the
           11        designation of an employee of the company or a
           12        participating subsidiary as an eligible participant under
           13        the plan, the committee from time to time and in its sole
           14        and absolute discretion may also designate a percentage of
           15        such participant's gross cash compensation which must be
           16        deferred in accordance with the further provisions of this
           17        plan, which shall constitute such participant's mandatory
           18        deferred compensation."
           19                           Did I read that correctly?
           20                 A.        Yes.
           21                 Q.        Do you recall, back in 2005, were branch directors
           22        required to make mandatory deferred contributions?
           23                 A.        Yes.
           24                 Q.        Could a branch director who is eligible to
           25        participate in the WAP decide not to participate?


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                                                                                                       Page 127
             1                A.        On a voluntary deferral basis, yes.
             2                Q.        But would that branch director still be required
             3       to make a mandatory deferred contribution under 2.3?
             4                A.        Yes.
             5                Q.        So he or she wouldn't have a choice about
             6       deferring that compensation?
             7                A.        Correct.
             8                Q.        And why was that?
             9                A.        It was a -- it was a business line decision.                    I
           10        was not involved in those conversations.
           11                 Q.        Do you know what motivated the decision?
           12                 A.        I do not.
           13                 Q.        Have you talked to anybody about the decision?
           14                 A.        No.
           15                 Q.        Have you talked to anybody about the purpose of
           16        mandatory deferred compensation?
           17                 A.        No.
           18                 Q.        Never?
           19                 A.        I don't recollect any of those conversations.                     I
           20        do know that there were conversations when we eliminated
           21        the mandatory deferral for the branch directors.
           22                 Q.        Prior to the elimination of the mandatory
           23        deferral, do you know why mandatory -- why there was a
           24        mandatory deferral provision?
           25                 A.        That would be -- that would have been a business


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             1                A.        That's correct.        So we -- we've used the
             2       terminology "versions," historically, because there are all
             3       these different versions of the program.                     But to your
             4       point, and just to clarify, using the word "version," does
             5       not mean that there are multiple different WAP plans.
             6                Q.        Okay.         Thank you.
             7                          Turning to page 14, this -- the second bullet
             8       point below the second header,




                                                           Do you see that?
           12                 A.        I do.
           13                 Q.        Do you know whether those numbers are accurate?
           14                 A.        I do not know.
           15                 Q.        Who would know?
           16                 A.        Again, I think that would be a comp question.
           17                 Q.        Comp?
           18                 A.        Yes.
           19                 Q.        And who in comp?
           20                 A.        That would be Tammy Buchert.
           21                 Q.        And the third point,




           24                 A.        I do.
           25                 Q.        Any reason to doubt that's accurate?


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             1       deferred, we had to really kind of embark on what would be
             2       the strategy of increasing eligibility if our population of
             3       eligibles grew to a place where we were uncomfortable.
             4                                    MR. ROLLER:   Can you read back the last
             5       sentence for me, please?
             6                            (Requested record was read back.)
             7       BY MR. ROLLER:
             8                Q.        Okay.         What is the "finishing well" idea?
             9                A.        The concept behind the "finishing well" branding
           10        was really -- this was -- we wanted RBC to be the place
           11        where FAs would come and retire.                  This was -- this was
           12        their final stomping ground, because typically in this --
           13        in the -- with this population, they hop from firm to firm
           14        to firm.
           15                           So the "finishing well" concept is, "We want you
           16        to retire with RBC, and what can we do to facilitate that?"
           17        So there were multiple different initiatives, one being the
           18        WAP.         And a big part of that, because for the FAs in
           19        particular that had been with RBC and had participated in
           20        WAP, there was a size -- this was a sizable -- you know,
           21        this was a sizable savings account for them.
           22                           And so WAP was part of it.         There were other
           23        aspects of, you know, the "finishing well" concept, but it
           24        was -- it was a really strong, strong strategic initiative
           25        back then.


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             1                Q.        And that's -- that's your signature on the last
             2       page?
             3                A.        Yes, it is.
             4                Q.        I'd like to direct your attention to paragraph 8.
             5       Can you tell me how those -- the numbers were calculated as
             6       far as the percentage of employees that were WAP-eligible?
             7                A.        Again, specifically, I did not run the analysis.
             8       One of my employees ran the analysis.                   But basically what
             9       we had done, as I'd mentioned earlier, is we would use --
           10        for the U.S. population, we would use the nondiscrimination
           11        testing file, and then we would determine, based on how
           12        many individuals were eligible for that year, to come up
           13        with our eligibility percentages.
           14                 Q.        Do you have any reason to doubt those are
           15        accurate?
           16                 A.        I have no reason to doubt that they're accurate.
           17                 Q.        I'd like to direct your attention to paragraph 12.
           18        And the very last sentence of paragraph 12 states that "In
           19        2007, 43 percent of all WAP assets were elected for
           20        in-service distribution."              Do you see that?
           21                 A.        Yes.
           22                 Q.        Is that accurate?
           23                 A.        Based on the information I received, yes.
           24                 Q.        Is it fair to conclude from that that the other
           25        50 percent of WAP assets were elected for distribution


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                                                                                                       Page 215
             1       after separation or in retirement?
             2                A.        Yes.
             3                            (Exhibit No. 43 marked.)
             4       BY MR. ROLLER:
             5                Q.        Ms. Sikich, do you recognize Exhibit 43?
             6                A.        Yes, I do.
             7                Q.        And what is it?
             8                A.        It is the interrog- -- categories for Plaintiffs
             9       Marty Paul and Brian Buskirk.
           10                 Q.        And it's RBC's responses to those?
           11                 A.        It's RBC's respon- -- correct.
           12                 Q.        And you signed them electronically on -- well, the
           13        page number isn't really indicated, but if you go to the
           14        second-to-last page, essentially?
           15                 A.        Yes.        It was signed on the --
           16                 Q.        Verification?
           17                 A.        -- on March 8th, 2017.
           18                 Q.        And you reviewed these before signing that?
           19                 A.        Yes, I did.
           20                 Q.        I'd like to direct your attention to Interrogatory
           21        No. 3, and that interrogatory asked, "Which version of the
           22        WAP RBC Capital Markets contends applies to Paul's claims
           23        and to Buskirk's claims?"                 Do you see that?
           24                 A.        I do.
           25                 Q.        And then there -- there are a number of


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                                                                                                       Page 219
             1                                             C E R T I F I C A T E
             2
             3       STATE OF MINNESOTA
             4       COUNTY OF DAKOTA
             5
             6                            I, Ryan Ziegler, a Certified Shorthand Reporter in
             7       and for the State of Washington, do hereby certify that the
             8       foregoing transcript of the deposition of Gabriela Sikich,
             9       having been duly sworn, on July 11, 2017, is true and
           10        accurate to the best of my knowledge, skill, and ability.
           11                             I do further certify that I am a disinterested
           12        person in this cause of action and that I am not a relative
           13        of the attorneys for any of the parties.
           14                             IN WITNESS WHEREOF, I have hereunto set my hand
           15        and seal this July 18, 2017.
           16
           17
           18
           19                                                        ____________________________
                                                                     RYAN ZIEGLER, RPR, CCR
           20
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              Deposition of Tammy Buchert

  Paul, et ano. v. RBC Capital Markets, LLC, et al.

                               July 12, 2017




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                                                                                                         Page 43
             1                A.        I do.
             2                Q.        And you would have known the eligibility for
             3       various years?
             4                A.        The eligibility rules or requirements?
             5                Q.        Yes.
             6                A.        Yes.
             7                Q.        Is it fair to say that, under the WAP, a financial
             8       consultant's eligibility was determined by his or her
             9       production?
           10                 A.        Yes.
           11                 Q.        And explain to me again what "production" is.
           12                 A.        Production are the fees and commissions a client
           13        pays to RBC.                 We call that "production," and typically it's
           14        looked at in a monthly or an annual time frame.                         So annual
           15        production is a common -- a common measure, common
           16        statistic.
           17                 Q.        Is it fair to say it's essentially the -- the
           18        revenue that a particular financial consultant is
           19        responsible for generating that comes into the company?
           20                 A.        Yes.
           21                 Q.        A bit later, we'll talk a little bit more about
           22        the various components of production, but do you recall
           23        that, for the WAP plan year 2010, for financial
           24        consultants, the production eligibility threshold was
           25        raised from 300,000 to $400,000?


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                                                                                                         Page 51
             1                Q.        I'd like to turn to -- it's the fourth page in the
             2       document, but it's the second numbered page, and it is a --
             3       I'm looking at the page that ends in 6618 in the lower
             4       right-hand corner, and I guess I might characterize this as
             5       a letter or a statement from Jim Chapman and Karl
             6       Leaverton.               Do you see that?
             7                A.        I do.
             8                Q.        Do you know who authored this statement?
             9                A.        I believe it was -- a draft was written by the --
           10        a compensation team outside of the one we talked before, a
           11        different internal compensation team, and then presented to
           12        the -- to Jim and Karl for approval and potentially edits.
           13                 Q.        I see in, for example, the second paragraph and
           14        the third paragraph, there's -- so in the -- I'll just read
           15        the first sentence of the second paragraph.                       "It is our
           16        desire for RBC wealth management to become the place where
           17        experienced financial consultants want to conduct their
           18        business.              You've chosen to build your business here, and
           19        we hope you stay and finish well here."
           20                           That phrase, "finish well," is one that I've seen
           21        a lot.           Does that have any particular meaning to you?
           22                 A.        It was a marketing phrase that we would use --
           23        talk about or use when we talk about a financial adviser
           24        staying with the firm, "finishing well."
           25                           And if there was a program developed that would be


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           Page 52
             1       available to people who are at the end of their career,
             2       more towards retirement or moving into retirement, such as
             3       what I referenced before, the business transition plan, it
             4       might be packaged under the marketing phrase of "finishing
             5       well."
             6                Q.        Okay.         So is it fair to say that a goal would be
             7       to have these experienced financial consultants finish --
             8       finish their career at RBC?
             9                                    MR. RUSSELL:   Object to form.
           10                 A.        Yes.
           11        BY MR. ROLLER:
           12                 Q.        And is it also fair to say that elements of the
           13        compensation plan were designed to encourage financial
           14        consultants to stay and finish their career at RBC?
           15                 A.        Yes.
           16                 Q.        The third paragraph reads, "Another key element to
           17        help financial consultants finish well at RBC wealth
           18        management is our compensation program, as we proudly
           19        remain one of the highest paying firms in the industry.
           20                           "The RBC U.S. wealth accumulation plan, WAP, our
           21        deferred compensation program, offers you the significant
           22        opportunity to build long-term wealth."                    Do you agree that
           23        the -- the WAP offered a significant opportunity for
           24        financial consultants to build long-term wealth?
           25                 A.        Yes.


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                                                                                                         Page 53
             1                Q.        Why do you say that?
             2                A.        So it was a program where company contributions
             3       would be made, they can voluntarily put -- make
             4       contributions into it, and there was an attractive feature
             5       of the tax deferral of those monies.                      And building wealth
             6       is continuing to put money -- continuing to voluntarily put
             7       or continue to have company contributions into the plan.
             8                Q.        And the tax deferral, is it -- is it correct that
             9       participants could elect to defer their WAP distributions
           10        to some point while they're still in service or elect to
           11        defer their contributions until sometime after they
           12        separate from the company or retire?
           13                 A.        Yes.
           14                 Q.        Let's turn to the compensation overview page.
           15        This is page 3.                       It ends in 19 in the lower right corner.
           16        And this looks to me to be kind of a summary grid of how a
           17        financial consultant's compensation is determined; is that
           18        accurate?
           19                 A.        Yes.
           20                 Q.        And I think we previously established that
           21        production is revenue to the company that the financial
           22        consultant is responsible for: commissions on trades,
           23        things like that; correct?
           24                 A.        Correct.
           25                 Q.        So one of the reasons I went to -- to law school


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           Page 58
             1       through that?
             2                A.        Okay.
             3                Q.        This assumes a 600,000 level of production, 12
             4       years of service, and the FC is making a 15 percent
             5       contribution voluntarily to the WAP and qualifies for
             6       president's council level of WAP match and contributes to
             7       the full extent to the retirement plan.                    Okay.
             8                          So the base commission rate per the grid we were
             9       just looking at on page 3 would be 43 percent and --
           10                 A.        Correct.
           11                 Q.        And so 43 percent of $600,000 is $258,000; right?
           12                 A.        Correct.
           13                 Q.        Okay.         I think maybe where I'm getting hung up on
           14        is on the "Other Compensation."                  Can you -- can you tell me
           15        what the 750 by "Margin" means?
           16                 A.        So back on Footnote No. 2, the first table that we
           17        were looking at, it talked about, "excludes the impact of
           18        other cash compensation."                  These are examples of other cash
           19        compensation.                  In this example, this person received $750
           20        for margin compensation.
           21                 Q.        And so the -- this FC's -- one of this FC's
           22        clients may have had a margin account, and then per the
           23        table that's on page 13, the FC is compensated for that
           24        account at a certain rate, which ends up being $750?
           25                 A.        Correct.


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           Page 138
             1       small --
             2                A.        Mm-hmm.
             3                Q.        -- and it's difficult to read.          I think that's how
             4       it was produced to us, but quite frankly, I didn't make any
             5       efforts to make --
             6                A.        Yeah.
             7                Q.        -- it bigger and easier to read.
             8                          Do you recognize this document?
             9                A.        I do.
           10                 Q.        What is it?
           11                 A.        The meeting materials for a meeting with the
           12        regional directors in May of 2010 to talk about 2011 FC
           13        compensation.
           14                 Q.        And do you know who created this document?
           15                 A.        It'd be me or my group.
           16                 Q.        I'd like to direct your attention to the -- the
           17        page that ends in 5701 in the lower right corner.
           18                 A.        Okay.
           19                 Q.        And the title of that slide is "Competitive
           20        Standing."               The subtitle, "The 2011 plan is extremely
           21        attractive versus our competitors."
           22                           And I'd just like to direct your attention to the
           23        last bullet point there, which my eyes aren't what they
           24        were 20 years ago, but I think I can still read.
           25        "Industry-leading wealth accumulation plan provides


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                                                                                                       Page 139
             1       financial consultants with a vehicle to gather great
             2       wealth, provide investment flexibility, and plan for their
             3       retirement."                 Do you see that?
             4                A.        I do.
             5                Q.        And is that true?
             6                A.        I believe so.
             7                Q.        And those features of the WAP were very important
             8       to FCs?
             9                                    MR. RUSSELL:   Object to the form.         It calls
           10        for speculation.
           11                 A.        I believe it was important.
           12        BY MR. ROLLER:
           13                 Q.        Why do you believe that?
           14                 A.        Feedback that we would receive through our complex
           15        directors, branch directors, regional directors that they
           16        hear from financial advisers that these items are
           17        attractive.
           18                 Q.        So gathering wealth was attractive?
           19                 A.        Yes.
           20                 Q.        That feedback came up to regional directors?
           21                 A.        That's one of the bases for this.
           22                 Q.        Yeah.
           23                 A.        Would have been, yes.
           24                 Q.        And also planning for retirement, that would have
           25        been an important feature to the FCs?


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           Page 146
             1                                             C E R T I F I C A T E
             2
             3       STATE OF MINNESOTA
             4       COUNTY OF DAKOTA
             5
             6                            I, Ryan Ziegler, a Certified Shorthand Reporter in
             7       and for the State of Washington, do hereby certify that the
             8       foregoing transcript of the deposition of Tammy Buchert,
             9       having been duly sworn, on July 12, 2017, is true and
           10        accurate to the best of my knowledge, skill, and ability.
           11                             I do further certify that I am a disinterested
           12        person in this cause of action and that I am not a relative
           13        of the attorneys for any of the parties.
           14                             IN WITNESS WHEREOF, I have hereunto set my hand
           15        and seal this July 21, 2017.
           16
           17
           18
           19                                                        ____________________________
                                                                     RYAN ZIEGLER, RPR, CCR
           20
           21
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                        EXHIBIT 10
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                        EXHIBIT 11
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                        EXHIBIT 15
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                        EXHIBIT 17
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 1                                                                      Honorable Ronald B. Leighton

 2

 3

 4

 5

 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT TACOMA
 8   MARTY PAUL, an individual; and                       Case No. 3:16-cv-05616-RBL
     BRIAN BUSKIRK, an individual,,
 9
                        Plaintiff,
10                                                        DEFENDANT RBC CAPITAL
            v.                                            MARKETS, LLC’S RESPONSES AND
11                                                        OBJECTIONS TO PLAINTIFFS’
     RBC CAPITAL MARKETS, LLC, a                          SECOND INTERROGATORIES
12   Minnesota limited liability company;
     ROYAL BANK OF CANADA, a
13   Canadian corporation; and ROYAL
     BANK OF CANADA US WEALTH
14   ACCUMULATION PLAN, an employee
     Benefit plan,
15                     Defendant.
16

17

18
            Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendant RBC Capital Markets,
19
     LLC (“Defendant”), by and through its attorneys, Morgan, Lewis & Bockius LLP, provides the
20
     following objections and responses to the Second Interrogatories made by Plaintiffs Marty Paul
21

22   (“Paul”) and Brian Buskirk (“Buskirk), (collectively, “Plaintiffs”).

23

24

25
26
     DEFENDANT RBC CAPITAL MARKETS LLC’S RESPONSES AND
     OBJECTIONS TO PLAINTIFFS’ SECOND INTERROGATORIES                           MORGAN, LEWIS & BOCKIUS LLP
                                                                                    77 W. Wacker Drive
     DECL     WEINSTEIN- PAGE
     NO. 3:16-CV-05616-RBL ISO 1PLAINTIFFS’ MOTION                                   Chicago, IL 60601
     FOR PARTIAL SUMMARY JUDGMENT
                                                                                      +1.312.324.1000

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 1
     INTERROGATORY NO. 3:
 2
            Please identify which version(s) of the WAP you contend applies (1) to Paul’s claims
 3
     against you, and (2) to Buskirk’s claims against you.
 4
     RESPONSE TO INTERROGATORY No. 3:
 5
            Defendant objects to this Interrogatory to the extent it seeks information or
 6

 7   communications protected by the attorney-client privilege and/or work product doctrine, in

 8   particular insofar as information responsive to this Interrogatory would require revealing the
 9   mental thoughts, impressions, and litigation strategy of counsel and/or the disclosure of attorney-
10
     client communications regarding the same. Defendant also objects to this Interrogatory to the
11
     extent it seeks a purely legal conclusion or determination. Defendant also objects to this
12
     Interrogatory to the extent it purports to seek separate responses regarding each Plaintiff and,
13

14   therefore, contains multiple discrete subparts. Without waiving such objection, Defendant will

15   respond to this Interrogatory, but reserves the right to object to further interrogatories to the

16   extent they exceed the maximum number of interrogatories permitted by Fed. R. Civ. P. 33.
17          Subject to and without waiving the foregoing objections, Defendant responds as follows:
18
            Defendants maintain that the version of the WAP in effect on the date of each Plaintiff’s
19
     termination applies to his claims in this matter. Accordingly, Defendants maintain that Paul’s
20
     claims are governed by the Amended and Restated Royal Bank of Canada US Wealth
21

22   Accumulation Plan dated November 1, 2010, effective for the Plan Year beginning on January 1,

23   2011. Defendants maintain that Buskirk’s claims are governed by Amended and Restated Royal

24   Bank of Canada US Wealth Accumulation Plan, Frozen as of January 1, 2012, dated January 1,
25
     2012, effective for the Plan Year beginning on January 1, 2012.
26
     DEFENDANT RBC CAPITAL MARKETS LLC’S RESPONSES AND
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                                                                                       77 West Wacker Drive
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        1                                               VERIFICATION
        2            I, Gabriela Sikich, declare under penalty of perjury that I am employed by RBC Capital
        3
            Markets LLC as a U.S. Defined Contribution Plan Manager; that I sign the foregoing
        4
            Defendant’s Responses to Plaintiffs’ Second Interrogatories; and that I am authorized by
        5
            Defendant to do so. To the best of my knowledge and information, the facts stated therein are
        6
            true and accurate and represent the best information available when the Response was prepared.
        7

        8
                                                                                    
        9
            Signature:                                                  Date:
      10
            Name:            Gabriela Sikich
      11
            Title:           US Senior Manager, US Deferred Compensation Plans
      12

      13

      14

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      26    DEFENDANT RBC CAPITAL MARKETS LLC’S RESPONSES AND
            OBJECTIONS TO PLAINTIFFS’ SECOND INTERROGATORIES
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                                                                                           77 W. Wacker Drive
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 1                                   RULE 26(g) CERTIFICATION

 2            The undersigned attorney has read the foregoing Responses and Objections to
 3   Plaintiffs’ Second Interrogatories to Defendant RBC Capital Markets LLC, and certifies
 4   that the responses and objections are in compliance with Federal Rule of Civil Procedures
 5   26(g).
 6            DATED: March 8, 2017.
 7                                                MORGAN, LEWIS & BOCKIUS LLP
 8                                                By: /s/ Matthew A. Russell
 9
                                                     Sari M. Alamuddin (admitted pro hac vice)
10                                                   Christopher J. Boran (admitted pro hac vice)
                                                     Matthew A. Russell (admitted pro hac vice)
11
                                                  77 West Wacker Drive, Fifth Floor
12                                                Chicago, IL 60601
                                                  Phone: 312.324.1000
13                                                Fax: 312.323.1001
                                                  Email: sari.alamuddin@morganlewis.com
14                                                        christopher.boran@morganlewis.com
                                                          matthew.russell@morganlewis.com
15
                                                  Attorneys for Defendants RBC Capital Markets,
16                                                LLC, Royal Bank of Canada, and Royal Bank of
                                                  Canada US Wealth Accumulation Plan
17

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26   DEFENDANT RBC CAPITAL MARKETS LLC’S RESPONSES AND
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                                                                                  77 West Wacker Drive
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                                    CERTIFICATE OF SERVICE
 1         I hereby certify that on this date, I served this document on all parties of record via e-mail
 2   on March 8, 2017.
 3
                  YARMUTH WILSDON PLLC
 4
                  Jeremy E. Roller, WSBA No. 32021
 5                Elizabeth S. Weinstein, WSBA No. 45763
                  1420 Fifth Avenue, Suite 1400
 6
                  Seattle, WA 98101
 7                Phone: 206.516.3800
                  Fax:     206.516.3888
 8                Email: jroller@yarmuth.com
                           eweinstein@yarmuth.com
 9

10         Attorneys for Plaintiffs Marty Paul and Brian Buskirk

11

12
                                                          /s/ Matthew A. Russell
13
                                                          Matthew A. Russell
14

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     DEFENDANT RBC CAPITAL MARKETS LLC’S RESPONSES AND
26   OBJECTIONS TO PLAINTIFFS’ SECOND INTERROGATORIES
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                                                                                     77 W. Wacker Drive
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  Matthew A. Russell
  Associate
  +1.312.324.1771
  Matthew.russell@morganlewis.com




  July 10, 2017



  VIA E-MAIL and U.S. MAIL

  Elizabeth S. Weinstein
  Yarmuth Wilsdon PLLC
  1420 Fifth Avenue, Suite 1400
  Seattle, WA 98101

  Re:      Paul, et al. v. RBC Capital Markets, LLC, et al., Case No. 3:16-cv-05616-RBL

  Dear Elizabeth:

  I write in response to your June 28, 2017 letter regarding the alleged preclusive effect of the Fifth
  Circuit’s decision in Tolbert v. RBC Capital Markets, 758 F.3d 619 (5th Cir. 2014) on certain issues
  raised by plaintiffs’ claims in this case. In short, we disagree with your position that RBC is barred
  from litigating the question of whether the WAP was an “employee pension benefit plan” under
  ERISA, 29 U.S.C. § 1002(2)(A)(ii), with respect to “amended and restated” versions of the WAP
  other than the Nov. 1, 2008 WAP document. While plaintiffs are free to argue that the Fifth
  Circuit’s analysis of the Nov. 1, 2008 WAP in Tolbert is persuasive, RBC is not precluded at the
  outset from asserting arguments based upon different versions of the WAP—amended and
  effective at different times and administered differently—should it choose to do so.

  First, the issues presented here are not “identical” to those “actually litigated” and decided against
  RBC in Tolbert, as required for application of offensive non-mutual issue preclusion. See Syverson
  v. Int’l Bus. Machines Corp., 472 F.3d 1072, 1078 (9th Cir. 2007) (issue must be “identical” in prior
  action, “actually litigated,” and actually “decided” in final judgment) (citing Fund for Animals, Inc.
  v. Lujan, 962 F.2d 1391, 1399 (9th Cir. 1992); see also Restatement (Second) of Judgments § 27
  & cmt. j (1982). As your letter acknowledges (Ltr. at 1), the Tolbert district court—and,
  consequently, the Fifth Circuit—specifically limited its holding to the Nov. 1, 2008 WAP document,
  making clear “the Court has not included in its analysis any subsequent versions of the WAP
  that may have been promulgated.” Tolbert v. RBC Capital Markets Corp., No. CIV.A. H-11-0107,
  2013 WL 3503286, at *3 n.4 (S.D. Tex. Mar. 27, 2013) (emphasis added), rev'd and remanded,
  758 F.3d 619 (5th Cir. 2014). This clarification—unnecessary had the court intended to resolve the
  same question for every version of the WAP—alone establishes that the issue resolved in Tolbert
  was not “identical” to arguments RBC might present here. “Collateral estoppel is inappropriate if
  there is any doubt as to whether an issue was actually litigated in a prior proceeding,” Steen v.
  John Hancock Mut. Life Ins. Co., 106 F.3d 904, 912 (9th Cir. 1997) (quotations omitted) (applying




                                                      Morgan, Lewis & Bockius     LLP

                                                  77 West Wacker Drive
                                                  Chicago, IL 60601-5094                  +1.312.324.1000
DECL WEINSTEIN ISO PLAINTIFFS’               MOTION
                                                  United States                           +1.312.324.1001
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  issue preclusion where a second lawsuit concerned the same agreement at issue in prior suit), and
  the Tolbert court’s own limitations of its ruling eliminate “any doubt” that it was confined to the
  Nov. 1, 2008 WAP.

  Indeed, by pointing to certain textual “similarities” across different versions of the WAP, your letter
  appears to conflate principles of collateral estoppel with your apparent position that the Fifth
  Circuit’s ruling in Tolbert should hold strong persuasive value in this case. But there is a difference
  between whether a court addressing a supposedly similar issue might find the Fifth Circuit’s
  substantive reasoning persuasive, as opposed to whether RBC is precluded from even raising
  certain arguments in the first place. To start, the fact that the Fifth Circuit deemed certain
  “express terms” of the Nov. 1, 2008 WAP relevant to its analysis of that plan does not
  automatically extend the scope of its analysis to supposedly similar provisions in other versions of
  the WAP not before it—including those not even in existence when the Nov. 1, 2008 WAP was in
  effect—without regard to other potentially material differences. Rather, determining the “issue”
  before the court in Tolbert for collateral estoppel purposes must begin (and end) with the actual
  question presented—whether the Nov. 1, 2008 WAP (and only the Nov. 1, 2008 WAP) was an
  ERISA “pension benefit plan.” Moreover, plaintiffs do not dispute that the WAP was, in fact,
  “amended and restated” in subsequent years, nor that, as a practical matter, the WAP was
  administered differently in certain years. To the contrary, even your June 28 letter states (and
  carefully preserves) plaintiffs’ position that potentially several “‘versions’ of the WAP apply” to their
  forfeitures, (Ltr. at 2 n.2), recognizing participants may have been subject to different terms and
  conditions from year to year regardless of what the written WAP document stated. Ultimately,
  plaintiffs are free to argue that textual similarities among the WAP versions at issue here should
  support the Fifth Circuit’s reasoning in Tolbert. But that ruling is not binding in this court, and the
  Tolbert court did not address the identical issues presented here.

  Second, even if the application of different versions of the WAP in this litigation were not alone
  sufficient to avoid preclusion, the few textual similarities you highlight overlook other material
  differences in the WAP’s operation from year-to-year—including differences potentially material to
  the WAP’s status as an “employee pension benefit plan.” Among other things, the WAP expressly
  grants RBC (or its delegates, including the WAP Committee) with substantial discretion in
  administering and operating the Plan. As such, many of the WAP’s central provisions afford RBC
  broad authority in structuring the terms and conditions of WAP participation, such as setting
  eligibility requirements, deciding whether and how to make various forms of company
  contributions or discretionary bonus payments, or establishing applicable vesting schedules or
  requirements. See, e.g., Nov. 1, 2010 WAP § 2.1 (granting discretion to establish all WAP
  eligibility thresholds and invite participants); id. § 2.2 (granting “the discretion to limit the amount
  of Voluntary Deferred Compensation” and set the maximum percentage of compensation
  participants may defer); id. § 2.6 (allowing RBC to “establish whether and to the extent to which a
  Participant is eligible for” certain types of Company Contributions (including bonuses), to establish
  all performance-based measures for determining Matching Contributions, to make whatever other
  “Discretionary Contributions” RBC decides “in its sole discretion”); id. § 4.2 (allowing RBC, “in its
  sole discretion,” to establish when a participant’s account will vest); id § 7.1 (granting both the
  WAP Committee and RBC’s Board of Directors the “full power and discretionary authority” to
  determine, inter alia, Company Contributions, eligibility, and certain vesting provisions).

  In other words, material differences among the versions of the WAP are not found in its express
  terms alone, but in how RBC administered the Plan. For instance, as plaintiffs are undoubtedly
  aware, RBC modified the WAP’s minimum eligibility thresholds for the 2009 and 2010 plan years,


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  which materially altered the WAP but were not reflected in the written Plan document. Likewise,
  RBC ceased making certain forms of “Matching Contributions” to the WAP as of 2010, replacing
  them with bonus-based compensation decoupled from a participant’s voluntary deferrals, including
  increases to the rates of the “Productivity Bonus” and implementing a new “Loyalty Bonus” based
  in part on an employee’s years of service. As a result of these modifications, WAP participants no
  longer were required to make voluntary deferrals as a condition of receiving such bonuses.
  Likewise, as of 2011, RBC eliminated the requirement that certain WAP participants make
  “Mandatory Deferrals” in order to participate in the WAP, further transitioning the WAP into a
  clearer vehicle for the payment of employee bonuses. Again, that these modifications may not be
  reflected in the express written terms of Plan document does not render them irrelevant or
  inconsequential. Under plaintiffs’ reasoning, even if the WAP Committee determined that no
  further voluntary deferrals would be permitted, that the sole Company Contributions RBC would
  make into the WAP were annual performance bonuses, that they would vest immediately, and that
  they must be distributed within three years—i.e., a clear “bonus program” under 29 C.F.R.
  § 2510.3-2(c)—the WAP would nonetheless be a “pension benefit plan” if the WAP’s express terms
  did not change, and moreover, that RBC would not even be permitted to argue this arrangement
  fell beyond ERISA’s coverage as a result of the Tolbert ruling.

  Further underscoring this point, the question of whether any particular version of the WAP falls
  within the Department of Labor’s “bonus plan” regulation cited above was not actually litigated or
  decided in Tolbert, even with respect to the Nov. 1, 2008 WAP. As the Fifth Circuit observed, RBC
  did not argue directly that the Nov. 1, 2008 WAP was, in fact, a “bonus plan” to the district court
  and, therefore, this question was not properly before the Fifth Circuit. See Tolbert, 758 F.3d at
  627; see also Steen v, 106 F.3d at 912 (“[F]or collateral estoppel to apply, the issue to be
  foreclosed in the second litigation must have been litigated and decided in the first case.”); Duran
  v. AT&T Corp., No. C-2-99-418, 2001 WL 1334280, at *7 (S.D. Ohio Aug. 22, 2001) (“If an issue is
  not argued, or though argued is ignored by the court, or is reserved, the decision does not
  constitute a precedent to be followed.”). Although the Fifth Circuit nonetheless went on to
  address, in dicta, whether the Nov. 1, 2008 WAP might fall within the “bonus plan” regulation, this
  does not mean the question was actually litigated or resolved in that case. To the contrary, unlike
  the “express terms” of the Nov. 1, 2008 WAP you cite with respect to the Fifth Circuit’s analysis of
  ERISA’s definition of a “pension benefit plan,” the only basis for the court’s conclusion as to the
  “bonus plan” issue was (i) the fact that RBC did not argue the issue directly; and (ii) the WAP’s
  statement of purpose, which said only that the WAP allowed employees to defer a portion of their
  compensation. But the “bonus program” regulation itself contemplates the deferral of “income,” as
  it defines such a program as one involving “payments made by an employer to some or all of its
  employees as bonuses for work performed[.]” 29 C.F.R. § 2510.3-2(c) (emphasis added). Thus,
  material differences between the Nov. 1, 2008 WAP and subsequent iterations of the Plan
  underscore that Tolbert did not resolve all “identical” issues that may be presented here.

  Accordingly, we do not agree that mere similarities between the few provisions of the Nov. 1, 2008
  WAP document the Fifth Circuit chose to cite to support its reasoning render the underlying “issue”
  in Tolbert identical to the issues raised in this case. See Duran, 2001 WL 1334280, at *7
  (collateral estoppel did not apply to issues related to (1) provisions of the agreement considered in
  the first case that were not relevant for the prior holding, and (2) new versions of the agreement
  not in dispute in the first case and, therefore, not actually litigated); Rybarczyk v. TRW, Inc., 235
  F.3d 975, 982 (6th Cir. 2000) (reversing district court application of collateral estoppel because the
  1988 amendments were not an issue in the prior litigation but were the operative amendment for
  the current litigation, and thus the “precise issue” had not been litigated in the prior proceeding);


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  cf. Cent. Delta Water Agency v. United States, 306 F.3d 938, 953 (9th Cir. 2002) (issue preclusion
  did not apply where prior litigation was based upon an earlier version of a plan containing different
  terms, and thus the issues were not “identical”); Fund for Animals, 962 F.2d at 1399 (collateral
  estoppel did not apply because the second action was rooted in an environmental impact
  statement that “differ[ed] significantly” from the conduct challenged in the first lawsuit).

  We believe that a stipulation is not appropriate for the reasons outlined above. Should you wish to
  discuss this issue further, we would be happy to arrange a meet and confer.

  Sincerely,


  /s/ Matthew A. Russell
  Matthew A. Russell


  cc:      Sari M. Alamuddin (via e-mail)
           Christopher J. Boran (via e-mail)
           Kevin J. Hamilton (via e-mail)
           Jeremy Roller (via e-mail)
           William B. Stafford (via e-mail)




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“The first section of the WAP, the statement of purpose, refers to the WAP as a ‘deferred
compensation plan’ and explains that, by design, employees have the option ‘to defer receipt
of a portion of their compensation to be earned with respect to the upcoming Plan Year.’”
Tolbert v. RBC Capital Markets, 758 F.3d 619, 625 (5th Cir. 2014).


   Paragraph 1.1 of the 2008 Plan Document (Weinstein Decl., Ex. 2), considered by the Fifth
   Circuit in Tolbert:




          x   Paragraphs 1.1 of the 2010 Plan Document (Weinstein Decl., Ex. 9) and the
              2011 Plan Document (Weinstein Decl., Ex. 10) are identical to Paragraph 1.1
              of the 2008 Plan Document (Weinstein Decl., Ex. 2).

          x   Paragraphs 1.1 of the 2005 Plan Document (Weinstein Decl., Ex. 6), the First
              2007 Plan Document (Weinstein Decl., Ex. 7), and the Second 2007 Plan
              Document (Weinstein Decl., Ex. 8) are substantively identical to Paragraph
              1.1 of the 2008 Plan Document (Weinstein Decl., Ex. 2):




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       x   Paragraph 1.1(a) of the 2012 Frozen Plan Document (Weinstein Decl., Ex. 12)
           is substantively identical to Paragraph 1.1 of the 2008 Plan Document
           (Weinstein Decl., Ex. 2):




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“Later sections of the WAP contain provisions for both Voluntary Deferred Compensation
and Mandatory Deferred Compensation that plainly refer to income that is deferred.”
Tolbert, 758 F.3d at 625.


   Paragraph 2.2 of the 2008 Plan Document (Weinstein Decl., Ex. 2), considered by the Fifth
   Circuit in Tolbert:




          x   Paragraphs 2.2 of the 2010 Plan Document (Weinstein Decl., Ex. 9) and the
              2011 Plan Document (Weinstein Decl., Ex. 10) are identical to Paragraph 1.1
              of the 2008 Plan Document (Weinstein Decl., Ex. 2).




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       x   Paragraphs 2.2 of the 2005 Plan Document (Weinstein Decl., Ex. 6), the First
           2007 Plan Document (Weinstein Decl., Ex. 7), and the Second 2007 Plan
           Document (Weinstein Decl., Ex. 8) are substantively identical to Paragraph
           2.2 of the 2008 Plan Document (Weinstein Decl., Ex. 2):




       x   Paragraph 2.2 of the 2012 Frozen Plan Document (Weinstein Decl., Ex. 12)
           is substantively identical to Paragraph 2.2 of the 2008 Plan Document
           (Weinstein Decl., Ex. 2):




                            *       *      *      *       *




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  Paragraph 2.3 of the 2008 Plan Document (Weinstein Decl., Ex. 2), considered by the Fifth
  Circuit in Tolbert:




         x   Paragraphs 2.3 of the 2010 Plan Document (Weinstein Decl., Ex. 9), the
             2011 Plan Document (Weinstein Decl., Ex. 10), and the 2012 Frozen Plan
             Document (Weinstein Decl., Ex. 12) are identical to Paragraph 2.3 of the
             2008 Plan Document (Weinstein Decl., Ex. 2).

         x   Paragraphs 2.3 of the 2005 Plan Document (Weinstein Decl., Ex. 6), the
             First 2007 Plan Document (Weinstein Decl., Ex. 7), and the Second 2007
             Plan Document (Weinstein Decl., Ex. 8) are substantively identical to
             Paragraph 2.3 of the 2008 Plan Document (Weinstein Decl., Ex. 2):




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“The vesting sections explain that, upon separation, unvested amounts vest immediately.”
Tolbert, 758 F.3d at 626 (emphasis in original).

   Paragraph 4.2 of the 2008 Plan Document (Weinstein Decl., Ex. 2), considered by the Fifth
   Circuit in Tolbert:




          x   Paragraphs 4.2 of the 2010 Plan Document (Weinstein Decl., Ex. 9) and the
              2011 Plan Document (Weinstein Decl., Ex. 10) are identical to Paragraph 4.2
              of the 2008 Plan Document (Weinstein Decl., Ex. 2).




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       x   Paragraphs 4.2 of the First 2007 Plan Document (Weinstein Decl., Ex. 7)
           and the Second 2007 Plan Document (Weinstein Decl., Ex. 8) are
           substantively identical to Paragraph 4.2 of the 2008 Plan Document
           (Weinstein Decl., Ex. 2):




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       x   Paragraph 4.2 of the 2012 Frozen Plan Document (Weinstein Decl., Ex. 12)
           is substantively identical to Paragraph 4.2 of the 2008 Plan Document
           (Weinstein Decl., Ex. 2):




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       x   Paragraph 4.2 of the 2005 Plan Document (Weinstein Decl., Ex. 6) provides
           for immediate vesting and ties the vesting date to separation or retirement,
           similar to Paragraph 4.2 of the 2008 Plan Document (Weinstein Decl., Ex. 2),
           with minor differences in the timing of the vesting date:




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“The distribution sections contain further support: ‘If distribution is made due to
Separation,’ then ‘[a]vailable forms of distribution include a single lump sum or, if a
Participant meets the requirements for Retirement at the time of Separation, substantially
equal annual installments for up to ten years.’”

   Paragraph 5.3(b)(ii) of the 2008 Plan Document (Weinstein Decl., Ex. 2), considered by the
   Fifth Circuit in Tolbert:




          x   Paragraphs 5.2(b)(ii) of the 2010 Plan Document (Weinstein Decl., Ex. 9),
              the 2011 Plan Document (Weinstein Decl., Ex. 10), and 2012 Frozen WAP
              are identical to Paragraph 5.3(b)(ii) of the 2008 Plan Document (Weinstein
              Decl., Ex. 2).

          x   Paragraphs 5.3(b)(ii) of the First 2007 Plan Document (Weinstein Decl.,
              Ex. 7) and the Second 2007 Plan Document (Weinstein Decl., Ex. 8) are
              substantively identical to Paragraph 5.3(b)(ii) of the 2008 Plan Document
              (Weinstein Decl., Ex. 2):




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       x   Paragraph 5.2(c) of the 2005 Plan Document (Weinstein Decl., Ex. 6)
           provides for distribution after separation, similar to Paragraph 5.3(b)(ii) of
           the 2008 Plan Document (Weinstein Decl., Ex. 2), with minor differences
           in the timing of post-separation distribution:




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